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 8                           IN THE UNITED STATES DISTRICT COURT
 9                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
10
11    UNITED STATES OF AMERICA,                )      CASE NO. CR-05-0375 SI
                                               )
12                   Plaintiff,                )      ORDER
                                               )
13             vs.                             )
                                               )
14    PATH VUONG,                              )
                                               )
15                   Defendant.                )
                                               )
16
17             GOOD CAUSE APPEARING IT IS HEREBY ORDERED that the property known as
18    161 San Luis Obispo Street, San Pablo, California 94806, Assessor’s Parcel number 416-
19    190115-4 is hereby released and exonerated as Surety for Defendant PATH VUONG and the same
20    be returned to its owner KIM NHET VUONG free and clear of any Federal lien as bail for the
21    above Defendant.                                                 ISTRIC
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24    Dated:                                                   IT IS S
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